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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,
                                                              Case No. 24-mc-00353-LJL
                                  Plaintiffs,
               v.

RUDOLPH W. GIULIANI,
                                  Defendant.


               MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS

       Pursuant to Local Civil Rule 1.4, the undersigned counsel respectfully seeks leave to

withdraw as Attorney of Record for Plaintiffs Ms. Ruby Freeman and Ms. Wandrea’ Moss. There

is good cause for withdrawal, as the undersigned will begin new employment after November 8,

2024, and therefore can no longer represent Plaintiffs. Plaintiffs will continue to be represented by

all attorneys for Plaintiffs entered in this case, including Rachel Goodman and Brittany Williams

from United to Protect Democracy. I certify that Plaintiffs have been given reasonable notice of

my withdrawal of appearance in this case. I am not asserting a retaining or charging lien.


Dated: November 8, 2024                               Respectfully submitted,

                                                      /s/ John Langford
                                                      John Langford
                                                      United to Protect Democracy
                                                      82 Nassau Street, #601
                                                      New York, NY 10038
                                                      Phone: (202) 579-4582
                                                      Facsimile: (202) 769-3176

                                                      Counsel to Ms. Ruby Freeman and
                                                      Ms. Wandrea’ Moss
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2024, I electronically filed the foregoing with the

Court using the CM/ECF system, which shall serve as notice of filing to all counsel of record.



                                                    /s/ John Langford




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